
USCA1 Opinion

	




                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 92-2356                              UNITED STATES OF AMERICA,                                      Appellee,                                          v.                                    EFRAIN NU EZ,                                Defendant, Appellant.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                    [Hon. Hector M. Laffitte, U.S. District Judge]
                                              ___________________                                 ____________________                                        Before                                Selya, Cyr and Boudin,                                   Circuit Judges.
                                   ______________                                 ____________________             Thomas R. Lincoln, with whom Law Offices of Thomas R. Lincoln was
             _________________            ________________________________        on brief for appellant.             Esther Castro-Schmidt,  Assistant  United States  Attorney,  with
             _____________________        whom  Charles  E. Fitzwilliam,  United  States Attorney,  and  Jos  A.
              _______________________                                  _______        Quiles  Espinosa,  Senior  Litigation   Counsel,  were  on  brief  for
        ________________        appellee.                                 ____________________                                    March 24, 1994                                 ____________________

                    CYR, Circuit Judge.  After a two-day jury trial, Efrain
                    CYR, Circuit Judge.
                         _____________          Nu ez, a Dominican national, was convicted of possessing approxi-          mately two  kilograms of cocaine,  with intent to  distribute, in          violation of 21 U.S.C.   841(a)(1).  On appeal, Nu ez  challenges          the district court's refusal  to suppress the contraband obtained          during  his  detention  by  the  United  States  Customs  Service          (Customs) at Luis Marin International Airport in Carolina, Puerto          Rico, on Sunday, May 24, 1992.                                            I
                                          I                                      BACKGROUND
                                      BACKGROUND
                                      __________          A.   Airport Detention
          A.   Airport Detention
               _________________                    The facts are unremarkable up  until the point in  time              approximately 3:55  p.m.    when Nu ez was  first observed by          two Customs agents, Olga  Silva and Victor Ramos, who  were "pro-          filing  passengers"  near the  American Airlines  ticket counter.          After Nu ez attracted  their attention because he  appeared to be          walking  stiffly, the  agents  followed him  toward the  American          Airlines  concourse,  and observed  as  he  cleared the  security          checkpoint  without incident.1  As Nu ez  placed his carry-on bag          on the floor  before presenting his  passport at the  Immigration          and Naturalization Service (INS) checkpoint, Customs Agents Ramos          and  Silva  noticed  several  bulges around  his  midsection  and                              
          ____________________               1Nu ez  walked through  the  metal detector  and passed  his          carry-on bag through the x-ray machine.                                          2

          observed  that he had difficulty  bending.  At  this point, Silva          left to summon Senior  Customs Investigator Isidro Rivera Sanchez          (Rivera).                    At approximately 4:10 p.m., Rivera approached  Nu ez at          the  INS checkpoint, identified  himself as a  Customs agent, and          posed  a series  of perfunctory  questions.   At one  point, when          Nu ez  bent down to show Rivera his carry-on bag, Rivera observed          the  "bulges" seen by Silva and Ramos minutes before, and decided          to question him further.  Rivera escorted Nu ez to a room off the          main concourse.   Seeking to  ensure that the  "bulges" were  not          explosives  that  might  have  gone undetected  at  the  security          checkpoint, Rivera  conducted a "pat-down  frisk" which  revealed          that  four  packages had  been  "adapted" to  fit  around Nu ez's          midsection.   Finding  no wires,  Rivera informed  Nu ez that  he          would be detained by Customs, then conducted him to a secure 8' x          8' holding room in the customs enclosure.                    As the case wended its way through the Customs chain of          command, two more Customs agents  became involved:  Senior Super-          visory  Agent Carlos  Ruiz Hernandez  (Ruiz) and  his supervisor,          Senior Agent Ben  Garcia (Garcia).   When Garcia  arrived on  the          scene, he directed Ruiz to arrange for a drug-detection dog to be          brought to the customs enclosure.  Later, Garcia and Ruiz went to          the  holding room, where Garcia  informed Nu ez that  he was sus-          pected  of smuggling  contraband  and that  the Drug  Enforcement          Administration (DEA) was being  requested to secure a  warrant to          search his person.   At  approximately 5:30 to  5:45 p.m,  Garcia                                          3

          administered Miranda warnings to Nu ez.  At approximately 5:45 to
                       _______          6:00 p.m., Ruiz attempted to arrange for a drug-detection dog.2                    The situation inside  the holding  room changed  drama-          tically as Ruiz was attending Nu ez while awaiting the arrival of          the drug-detection  dog.  Suddenly,  Nu ez spontaneously informed          Ruiz that  he had worked as an auto mechanic in New York but that          work was  scarce and "times are tough    you  have to make a buck          any way  you can."  As  Nu ez spoke, he slowly  began unbuttoning          his shirt.   Sensing that Nu ez was  preparing to shed the "bulg-          es,"  Ruiz decided to "give him the opportunity," and turned away          while continuing to observe surreptitiously.  Shortly thereafter,          Ruiz heard a rustling  sound and glimpsed a series  of movements.          When Ruiz turned toward  Nu ez, four packages lay near him on the          floor; it was approximately 6:30 p.m.                    Ruiz immediately performed a field test, which indicat-          ed that the packages contained cocaine.   Nu ez was arrested.  At          Ruiz's instruction, Nu ez removed his unbuttoned shirt, revealing          two  girdles and  the body imprints  left by the  packages he had          been carrying  around his  midsection.   When  the passive  drug-          detection  dog finally  arrived  at approximately  7:00 p.m.,  it                              
          ____________________               2The record is silent as to whether any previous attempt had          been  made to  obtain  a drug-detection  dog.   The  record  does          disclose,  however, that the  only dog  available at  the airport          that Sunday afternoon, "Oby", was used for luggage screening  and          was considered too dangerous  for use on a  human subject, as  it          was trained  to claw at  the spot  where it   detected narcotics.          "Zulu,"  the nearest "passive"  drug-detection dog,  was kenneled          forty-five minutes  from  the  airport.   Zulu  and  her  handler          arrived at the airport at approximately 7:00 p.m., about one-half          hour after Nu ez was formally arrested.                                          4

          "alerted"  in the area of Nu ez's midsection where the bulges had          been concealed.          B.   District Court Proceedings
          B.   District Court Proceedings
               __________________________                    At  a pretrial  conference  on  June 15, 1992,  defense          counsel represented that he would move to suppress the contraband          recovered from the  floor of  the detention room.   The  district          court accordingly  entered a pretrial  order pursuant to  Fed. R.          Crim. P. 12(c),  setting   June 22 as the  deadline for  pretrial          motions and July 29 as the trial date.  No motion to suppress was          filed  within the  prescribed period.   On July 23,  however, six          days before  trial, the government informed  defense counsel that          it would introduce newly discovered evidence relating to the pre-          arrest admission by Nu ez, which Customs Agent Ruiz only recently          had brought to  the prosecutor's  attention.  See  supra at  p.4.
                                                        ___  _____          The  next day, five days  before trial, defense  counsel moved to          suppress both the Nu ez admission and the contraband.  The motion
                   ____          simply contended that the contraband was the inadmissible product          of  a pretextual  investigatory stop,  but asserted  no challenge          based on the duration of the detention.                    On the  morning of  July 29, 1992, after  jury empanel-
                                                       _____  ____ ________          ment,  the  district court  heard  argument  on the  government's
          ____          objection based on the untimeliness of the motion to suppress the          contraband.  The  government argued that  the relevant facts  had          been known  to the defense from  the beginning and that  any sup-          pression  challenge to the contraband had  been waived under Fed.                                          5

          R.  Crim. P. 12(f).3   Asked to  explain the untimeliness  of the          motion,  defense counsel  represented  to the  court that  Nu ez,          against counsel's advice  and perhaps  without comprehending  the          full implications, had instructed counsel not to move to suppress          the contraband but later changed his mind.                    Without ruling on  the government's waiver  claim under          Federal Rule of Criminal Procedure 12(f), relating to the untime-          liness of  the motion  to suppress the  contraband, the  district          court  proceeded  to  consider the  contraband-suppression  claim          based  on the allegedly pretextual pat-down frisk.4  Near the end
          _____  __ ___ _________ __________ ________ _____          of  the  suppression  hearing  itself,  however, defense  counsel          insinuated  the  new contention  that  the  contraband should  be          suppressed  either on the basis  of the pretextual pat-down frisk          or  an  unconstitutionally  prolonged  detention.5    The  latter                              
          ____________________               3Given the timing of its disclosure, however, the government          conceded  the  timeliness of  the  motion to  suppress  the Nu ez          admission  to Ruiz.   Nu ez  has not  appealed from  the district          court ruling denying the motion to suppress the admission.               4The  district  court  thus  tacitly  allowed  argument  and          evidence on  the contraband-suppression issue, which  it had been          led  to understand  turned on  the allegedly  pretextual pat-down
                                                        __________ ________          frisk,  the only  claim  raised in  the  motion to  suppress  the
          _____   ___ ____  _____  ______ __  ___  ______ __  ________  ___          contraband.
          __________               5During  cross-examination of  the  Customs agents,  defense          counsel  elicited testimony relating to the frisk and the ensuing          detention.  Then, in a staccato presentation  near the end of the          suppression hearing,  defense counsel     for  the first  time             briefly  injected the claim  that the  excessive duration  of the          detention had  tainted the  voluntariness of Nu ez'  surrender of          the contraband.   With the  empaneled jury waiting,  the district          court simply noted  the customs agents' testimony  that Nu ez had          been detained pending the  issuance of a warrant  authorizing the          DEA  to search his person.   Defense counsel  then countered that          the government had presented no evidence that the agents had even          attempted to obtain  a warrant.  Thereupon, the court's attention                                          6

          theory had neither  been raised in the motion  to suppress nor at          the post-empanelment argument upon which the district court based          its tacit  decision to permit hearing  on the contraband-suppres-          sion  claim based  on  the theory  that  the pat-down  frisk  was          unconstitutional.   See supra  notes 4 &amp;  5.  As  a direct conse-
                              ___ _____          quence  of  the belated  insinuation  of the  prolonged-detention          claim, the district court's attention was never fairly focused on          the principal contraband-suppression theory presently advanced on          appeal.6                                           II
                                          II                                      DISCUSSION
                                      DISCUSSION
                                      __________          A.   Duration of Detention
          A.   Duration of Detention
               _____________________                    We  first  consider   whether  the  suppression  theory          clearly asserted for the first time on appeal    that the surren-          der of  the contraband was  the product of  an unconstitutionally          prolonged detention    was waived.  Criminal Rule 12(f) provides:          "Failure by a party  to raise defenses  or objections or to  make          requests which  must be made prior  to trial, at the  time set by
                          ____ __ ____ _____  __ _____          the  court pursuant to subdivision (c), or prior to any extension                              
          ____________________          was once again  abruptly drawn back to  the legality of  the pat-          down frisk.  Ultimately, the court denied the motion to suppress,          in its entirety, without  stating any "essential findings" relat-          ing  to the duration of the  detention as contemplated by Fed. R.          Crim. P. 12(e).               6The  principal  by-products  of these  scattershot  defense          tactics are the absence of  factual findings on matters essential          to reliable appellate review of the  district court's ruling that          the surrender of the contraband was voluntary, and the absence of          any  ruling or finding whatever  as to the  reasonableness of the          detention itself.  See Fed. R. Crim. P. 12(e).
                             ___                                          7

          thereof made  by the court, shall constitute  waiver thereof, but          the  court for  cause shown  may grant  relief from  the waiver."          Fed. R. Crim. P. 12(f)  (emphasis added).7  See United States  v.
                                                      ___ _____________          Gomez, 770 F.2d 251,  253 (1st Cir. 1985) (Rule  12 implements an
          _____          "important social policy"; waiver results absent compliance); see
                                                                        ___          also  Brooks v. United States,  416 F.2d 1044,  1047-48 (5th Cir.
          ____  ______    _____________          1969)  (same), cert.  denied, 400  U.S. 840  (1970).   The record
                         ____   ______          reflects  that  the  district  court neither  found  "cause"  nor          granted relief from waiver under Rule 12(f).8                              
          ____________________               7Rule  12(b)(3) mandates  that  all motions  to suppress  be          presented  prior to trial; Rule 12(c) empowers the court, by rule          or  order, to prescribe time  limits for filing  Rule 12 motions.          Fed. R. Crim. P. 12(b)(3), (c).               8At  the hearing  reluctantly  convened by  the trial  judge          following  jury  empanelment,  defense counsel  obliquely  raised          arguments altogether distinct from  those presented in the motion          to suppress the contraband.  See supra notes 4 &amp; 5.  We have made
                                       ___ _____          it crystal  clear that "[l]egal arguments  cannot be interchanged          at will."   United States v.  Lilly, ___ F.3d ___,  ___ (1st Cir.
                      _____________     _____          1994) [No. 93-1577, slip op. at  5 (Jan. 4, 1994)]; United States
                                                              _____________          v. Dietz, 950  F.2d 50, 55 (1st  Cir. 1991) ("We repeatedly  have
             _____          ruled  . . . that arguments not seasonably addressed to the trial
                                          __________ _________          court may  not  be raised  for  the first  time  in an  appellate          venue.") (emphasis added).  See also United States v. Bailey, 675
                                      ___ ____ _____________    ______          F.2d 1292,  1294  (D.C. Cir.)  (similar), cert.  denied sub  nom.
                                                    _____  ______ ___  ____          Walker v.  United States,  459  U.S. 853  (1982); accord,  United
          ______     _____________                          ______   ______          States v. Dewitt, 946 F.2d 1497, 1502 (10th Cir. 1991) ("[W]aiver
          ______    ______          provision  applies not  only to  the failure  to make  a pretrial          motion,  but also to the failure to include a particular argument
                                                        __________ ________          in the motion.") (emphasis added), cert. denied sub nom. Rison v.
                                             _____ ______ ___ ____ _____          United States, 112  S. Ct. 1233 (1992).  The  Trojan Horse tactic
          _____________          employed  by  the  defense   below  virtually  ensured  that  its          suppression claim  based on the  duration of the  detention would
                             _____ __ ___  ________ __ ___  _________          escape serious focus  from the  government and the  court at  the          post-empanelment suppression  hearing, see supra notes 4,  5 &amp; 6,
                                                 ___ _____          thereby circumventing the time  bar fixed in the pretrial  order,          see  supra note 7, the  "cause" showing required  for relief from
          ___  _____          waiver under Fed. R.  Crim. P. 12(f), and the  government's right          to compel resolution of the contraband-suppression claim prior to          trial  in order to preserve its right to pretrial review under 18          U.S.C.   3731.   See  note 9  infra; see  also  United States  v.
                           ___          _____  ___  ____  _____________                                          8

                    Even though  appellate courts on occasion  have implied          relief  from waiver under Rule  12(f) where the  trial court pro-          ceeds  to address the suppression issue on the merits, see, e.g.,
                                                                 ___  ____          United  States v. Vasquez, 858  F.2d 1387, 1389  (9th Cir. 1988),
          ______________    _______          cert. denied,  488  U.S. 1034  (1989);  contra United  States  v.
          ____  ______                            ______ ______________          Oldfield,  859 F.2d 392, 396-98 (6th  Cir. 1988), we have not had
          ________          occasion, nor are we disposed, sua sponte, to conjure relief from
                                         ___ ______          waiver under  Rule  12(f) in  circumstances  where no  cause  for          relief  appears and  the district  court record  does not  enable          reliable appellate review on the merits.                    First, it would make Rules 12(b)(3) and (f) meaningless          were an unexplained  change of mind on the  part of the defendant          deemed "cause"  for relief  from waiver, following  jury empanel-
                                                   _________  ____ ________          ment, under a rule fundamental to orderly pretrial procedure.  In
          ____          this  vein,  it  is  instructive to  contrast  the  circumstances          surrounding the late requests to suppress  the contraband and the          Nu ez  admission.  The government's failure to disclose the Nu ez          admission until  shortly  before trial  provided  a  paradigmatic          example of "cause" for relief from waiver under Rule 12(f).  See,
                                                                       ___          e.g., United States v. Lamela, 942 F.2d 100, 104 (1st  Cir. 1991)
          ____  _____________    ______          (holding  that a Rule 12(b)(2) motion first asserted at trial was          not  time-barred where  the relevant  information did  not become          available until trial).  On the other hand, no extrinsic justifi-          cation whatever  is suggested for the belated request to suppress          the contraband due to  the duration of the detention  even though                              
          ____________________          Barletta, 644 F.2d 50, 54 (1st Cir. 1981).
          ________                                          9

          all the relevant facts were known to the defense from the outset.
                                                           ____ ___ ______          Instead, the  untimeliness is  attributed exclusively  to Nu ez's          original  decision not  to  challenge the  contraband.   In these          circumstances, we  believe  something more  than  an  unexplained          change of  mind must be shown to warrant relief from a Rule 12(f)          waiver brought  on by  the defendant's  tactical  decision.   See
                                                                        ___          United  States v. Gonzales, 749  F.2d 1329, 1336  (9th Cir. 1984)
          ______________    ________          (upholding  denial of relief  from waiver under  Rule 12(f) after          defendant changed mind about whether to move to suppress).                    Second, Rule  12 itself  provides that the  court shall          not  defer a pretrial motion for determination at trial, even for          "good  cause" shown, "if a  party's right to  appeal is adversely          affected."  Fed. R. Crim. P. 12(e).   "Once a jury has been sworn          and jeopardy attaches, the government  loses its right to  appeal          an  adverse ruling on suppression."  United States v. Taylor, 792
                                               _____________    ______          F.2d  1019, 1025 (11th Cir.  1986) (scope of  discretion to grant          relief  under Rule  12(f)  narrows once  jeopardy has  attached),          citing  18 U.S.C.   3731,9 cert.  denied sub nom.  King v. United
          ______                     _____  ______ ___ ____  ____    ______          States, 481 U.S. 1030 (1987).  See United States v. Barletta, 644
          ______                         ___ _____________    ________          F.2d  50,  54  (1st  Cir. 1981)  (Coffin,  C.J.)  ("[D]efendants'          motions to suppress, based  on the exclusionary rule, are  at the                              
          ____________________               9The relevant portion of 18 U.S.C.   3731 reads as follows:                    An appeal  by the  United  States shall  lie to  a               court of appeals from a decision or order of a district               courts  [sic]  suppressing  or  excluding  evidence  or               requiring the  return of seized property  in a criminal               proceeding, not  made after the defendant  has been put               in jeopardy  and before  the verdict or  finding on  an               indictment or information . . . . (footnote omitted).                                          10

          heart of  the legislative purpose in  providing government appeal          rights.").   On the other hand, the defense tactic employed below          would have insulated from pretrial review, pursuant to  18 U.S.C.            3731,  any exclusionary  ruling based  on the  duration  of the          detention.   As our court clearly explained in Barletta, 644 F.2d
                                                         ________          at  54-55:                    Were a defendant able  to delay such a motion                    until trial, he  could prevent the government                    from appealing, thus frustrating  the central                    purpose  of   3731.   It  is for  this reason                    that motions to suppress     motions based on                    the exclusionary rule  alone    must  be made                    by a defendant prior to trial or not at  all,                    and for  this reason as well  that a district                    court ordinarily may not  defer a ruling on a                    defendant's  motion  to suppress.    We agree                    with the district court that such rulings and                    the  government's ability to  appeal them are                    at the core of 12(e).          Under these  circumstances, therefore, relief from  waiver of the          Nu ez suppression  claim based on  the duration of  the detention          will  not be  implied.   See id.  at 54;  see also,  e.g., United
                                   ___ ___          ___ ____   ____  ______          States  v. Gomez-Benabe,  985 F.2d  607,  611-12 (1st  Cir. 1993)
          ______     ____________          (finding Rule 12(f) waiver and concluding that: "[i]t is unneces-          sary to address the  substantive aspects of appellant's arguments          [that should have been  raised in a pretrial motion  to suppress]          since appellant has totallyfailed to put the matterin issue.").10                              
          ____________________               10Few courts  have squarely considered whether  a Rule 12(f)          waiver obviates  "plain  error" review  under Rule  52(b).   See,
                                                                       ___          e.g., United  States v. Howard, 998  F.2d 42, 52  (2d Cir. 1993);
          ____  ______________    ______          but see Gomez-Benabe,  985 F.2d  at 611-12.   A number of  courts
          ___ ___ ____________          have proceeded  with "plain error" review,  however, without dis-          cussing the impact of the  Rule 12(f) waiver.  See, e.g.,  United
                                                         ___  ____   ______          States v. Gio, 7 F.3d 1279, 1285 (7th Cir. 1993) (severance claim
          ______    ___          waived  under Rule 12(f) reviewed for plain error); United States
                                                              _____________          v. Milian-Rodriguez, 828  F.2d 679, 684  (11th Cir. 1987)  (same,
             ________________                                          11

          B. Pat-down Frisk
          B. Pat-down Frisk
             ______________                    Lastly, Nu ez argues that  the pat-down frisk conducted          by  Customs was pretextual    a search for contraband rather than          a  security frisk for weapons     and that  the contraband subse-          quently  recovered by  Customs  therefore should  have been  sup-          pressed under Wong  Sun v.  United States, 371  U.S. 471  (1963).
                        _________     _____________          Nu ez insists that the Customs agents  could not have apprehended                              
          ____________________          motion to suppress),  cert. denied, 486  U.S. 1054 (1988).   In a
                                _____ ______          different context,  we have  suggested that "plain  error" review          may  be  required, notwithstanding  waiver.    See, e.g.,  United
                                                         ___  ____   ______          States v. Cyr, 712 F.2d 729, 735 n.4 (1st Cir. 1983) (noting that
          ______    ___          reversal  on severance  claim waived  under Rule  12(f) would  be
                       _________          "mandated only if there is plain error.") (dicta).  In any event,          our precedent  does not require  "plain error" review  in circum-          stances  where reliable  review has  been rendered  impossible by          inadequate  development  at  the  district court  level  and  the          exclusionary-rule  suppression  issue pressed  on appeal  was not          broached below until after jeopardy attached.   See Barletta, 644
                                                          ___ ________          F.2d at 54-55.   See also  United States v.  Davenport, 986  F.2d
                           ___ ____  _____________     _________          1047, 1048 (7th Cir. 1993).               The record in this  case would not enable a  reliable appel-          late  determination  as to  the  reasonableness  of the  Custom's          agents'  actions  in  light  of all  the  relevant  circumstances          prevailing  at the time.  See,  e.g., United States v. Quinn, 815
                                    ___   ____  _____________    _____          F.2d  153, 157-58 (1st Cir. 1987).  Although the record certainly          is susceptible to the interpretation that approximately two hours          elapsed before Nu ez was formally arrested, it  is neither "obvi-          ous" nor "clear," see United States  v. Olano, ___ U.S. ___, ___,
                            ___ _____________     _____          113  S.  Ct. 1770,  1777 (1993),  for  instance, that  the actual          circumstances confronting the officers  did not render the deten-          tion reasonable; that the detention did  not constitute a reason-          able border detention; or, indeed, that the officers did not have          probable cause at  some point prior to the formal  arrest.  Thus,          Nu ez has not met the burden of  proving plain error, even assum-          ing  such review were appropriate  in the wake  of the deliberate          Rule 12(f) waiver.   See United States v. Olivier-Diaz,  ___ F.3d
                               ___ _____________    ____________          ___, ___ (1st Cir. 1993)  [No. 93-1306, slip op. at  11 (December          22, 1993)]  ("[E]rror cannot be  'clear' or 'obvious'  unless the          desired factual finding is  the only one supported by  the record          below."); United States  v. Petrozziello,  548 F.2d  20, 22  (1st
                    _____________     ____________          Cir.  1977) ("Appellant's failure to raise  the issue below means          that a critical factual dispute remains unsolved.  We cannot find          plain error on this silent record.").                                          12

          a genuine  security risk warranting a pat-down  frisk for weapons          at  the INS  checkpoint because  he had  just passed  through the          security  checkpoint without incident.   See supra note  1.  Fur-
                                                   ___ _____          thermore,  he argues, the Customs  agents would have searched his          carry-on bag  as  well were  they genuinely  concerned for  their          personal security as the government asserts.11                    The trial court is required to  assess "the totality of          the circumstances" confronting the officers, rather than dissect-          ing  the evidence and weighing the individual components.  United
                                                                     ______          States v. Trullo, 809 F.2d 108, 111 (1st Cir.), cert. denied, 482
          ______    ______                                _____ ______          U.S. 916 (1987).  We review its factual findings under the "clear          error" standard, United States v. Kiendra, 663 F.2d 349, 351 (1st
                           _____________    _______          Cir. 1981); see also United States v. Walker, 924 F.2d  1, 3 (1st
                      ___ ____ _____________    ______          Cir.  1991) (pat-down  frisk),  and will  uphold the  suppression          ruling  if supported  by "any  reasonable view of  the evidence,"          United  States  v. Young,  877 F.2d  1099,  1100 (1st  Cir. 1989)
          ______________     _____          (citing cases).                    The  district court based  its findings  principally on          the  agents' testimony  concerning the  reasons for  the pat-down          frisk.   Trial court credibility determinations  are prime candi-          dates  for appellate deference.   See United States  v. Brum, 948
                                            ___ _____________     ____          F.2d 817, 819 (1st Cir. 1991); cf. Anderson v. Bessemer City, 470
                                         ___ ________    _____________                              
          ____________________               11Agent Rivera testified  that there was  no need to  search
                                                                     ______          the carry-on bag at the security checkpoint, because the officers          would have Nu ez within their direct physical control and, unlike          a weapon concealed on his person, he would not be  able to remove          a gun from his carry-on bag before the officers could subdue him.          We  believe  Rivera's  testimony  was sufficient  to  dispel  the          misgivings raised by Nu ez.                                          13

          U.S. 564, 575  (1985).  The  suppression hearing transcript  dis-          closes abundant support  for the district court  finding that the          pat-down frisk was based on a reasonable concern,  on the part of          the  agents, for their own security and for the safety of airline          passengers.12    As the  record  evidence  supports the  district          court's reasoned conclusion, there was no error.                    Affirmed.
                    Affirmed.
                    ________                              
          ____________________               12Nu ez's  nervous behavior,  the stiff  manner in  which he          walked, the difficulty in bending, and  the bulges underneath his          clothing  were sufficient to raise a  reasonable suspicion in the          minds  of experienced  law  enforcement officers  that Nu ez  was          carrying contraband.  See United States v. Sokolow, 490 U.S. 1, 7
                                ___ _____________    _______          (1989) (totality  of circumstances  must be considered  in deter-          mining whether  there was "reasonable suspicion"  for Terry stop,
                                                                _____          which must be based on "articulable facts that criminal  activity          'may be afoot,' even if  the officer lacks probable cause.")   In          addition, the district court specifically credited testimony that          certain explosive  devices could have gone  undetected when Nu ez          passed through the airport security checkpoint.  Considering that          these events  took  place in  the  environs of  an  international          airport where drug  trafficking has been  a common occurrence  in          recent years,  see, e.g., United  States v. Villanueva,  ___ F.3d
                         ___  ____  ______________    __________          ___,  ___ (1st Cir.  1994) [No. 93-1502,  slip op. at  5 (Feb. 3,          1994)] (noting  history of area where defendants  were stopped is          relevant factor in  "reasonable suspicion" calculus), we  believe          the district court supportably found that these agents reasonably          harbored a  justifiable concern for their  personal safety and/or          the safety of airline passengers, sufficient to warrant  the pat-          down  frisk for  weapons and  for any  explosives which  may have          passed undetected through the INS checkpoint.                                          14


